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FILED

IN THE UNITED STATES DISTRICT COURT FEB 14 2023

FOR THE DISTRICT OF COLUMBIA Clark. US District & Bankruptcy

Courts for the District of Columbia
UNITED STATES OF AMERICA Case No.: 21-CR-246-1 (ABJ)
Vv.
DANIEL J. RODRIGUEZ

Defendant.

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STATEMENT OF OFFENSE (Rennesto | PUBe c)

Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, and the defendant, Daniel J. Rodriguez,
with the concurrence of his attorney, agree and stipulate to the below factual basis for the
defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the
United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol
include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the U.S. Capitol.

2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.
3. On January 6, 2021, a joint session of the United States Congress convened at the

U.S. Capitol. During the joint session, elected members of the United States House of
Representatives and the United States Senate were meeting in the Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on Tuesday,

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November 3, 2020. The joint session began at approximately 1:00 PM. Shortly thereafter, by
approximately 1:30 PM, the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint session,
and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. Temporary and permanent barricades, as noted above, were in place around the exterior
of the U.S. Capitol, and USCP officers were present and attempting to keep the crowd away from
the Capito! and the proceedings underway inside.

oy Just before 2:00 PM, certain individuals in the crowd forced their way through, up,
and over the barricades. Officers of the USCP were forced to retreat and the crowd advanced to
the exterior fagade of the building. The crowd was not lawfully authorized to enter or remain in
the building and, prior to entering the building, no members of the crowd submitted to security
screenings or weapons checks as required by USCP officers or other authorized security officials.

6. At such time, the certification proceedings were still underway, and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the USCP
attempted to maintain order and keep the crowd from entering the U.S. Capitol; however, shortly
after 2:00 PM, individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of law enforcement, as others in the crowd encouraged and
assisted those acts. The riot resulted in substantial damage to the U.S. Capitol, requiring the
expenditure of more than $2.7 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

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were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United
States Congress, including the joint session, were effectively suspended until shortly after 8:00
PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to
the U.S. Capitol building and grounds—including the danger posed by individuals who had entered
the U.S. Capitol without any security screening or weapons check—Congressional proceedings
could not resume until after every unauthorized occupant had been removed from or left the U.S.
Capitol, and USCP confirmed that the building was secured. The proceedings resumed at
approximately 8:00 PM after the building had been secured. Vice President Pence remained in the
U.S. Capitol from the time he was evacuated from the Senate Chamber until the session resumed.
Daniel Rodriguez’s Participation in the January 6, 2021, Capitol Riot

8. The defendant, Daniel Rodriguez, lived in Panorama City, California. On or about
January 3, 2021, the defendant traveled from Los Angeles, California to Washington, D.C., via
rental car. The purpose of the defendant’s trip to Washington, D.C., was to protest Congress’s
certification of the Electoral College vote.

9. Prior to January 6, 2021, the defendant was part of a Telegram group chat, the
“PATRIOTS 45 MAGA Gang,” (hereinafter, “the Patriots 45 group chat”) to support former
President Donald J. Trump and to discuss with others what he asserted was a stolen or fraudulent
election result. On December 19, 2020, a member of the Patriots 45 group chat posted that “Trump
is calling one everyone to go to DC Jan 6"” along with a screenshot of a Twitter post by former
President Trump, which stated “Statistically impossible to have lost the 2020 Election. Big protest

in D.C. on January 6". Be there, will be wild!”

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10. | Onor about December 23, 2020, the defendant told the Patriots 45 group chat, “we
gotta go handle this shit in DC so the crooked politicians don’t have an army of thugs threatening
violence to back their malevolent cabal ways[.]”

11. Onor about December 29, 2020, the defendant posted in the Patriots 45 group chat,
“Congress can hang. I’Il do it. Please let us get these people dear God.”

12. On or about January 3, 2021, the defendant and several other individuals left the
Los Angeles area in a rental vehicle and drove across the country to Washington, D.C. The
defendant’s vehicle joined a caravan to Washington, D.C. in Louisville, K.Y., and set up
communications via a cellphone application with others in the caravan.

13. On the morning of January 6, 2021, the defendant and several others attended the
speech by former President Trump at the “Stop the Steal” rally at the Ellipse in downtown
Washington, D.C. After the rally, the defendant joined with thousands of other rioters on the
grounds of the U.S. Capitol.

14. At approximately 2:40 p.m. on January 6, 2021, the defendant made his way to the
Lower West Terrace of the U.S. Capitol building, and joined with others who were trying to gain
access to the building through the “tunnel” in front of the doors to the building. From
approximately 2:40 p.m. until approximately 3:15 p.m., the defendant and other rioters were
pushing against police officers, who were preventing rioters from entering the Capitol building.
During that time, the defendant participated in a heave-ho effort with other rioters and deployed a
fire extinguisher at officers.

15. At approximately 2:52 p.m., while in the tunnel, the defendant received a small,
black, electroshock weapon from another rioter inside the tunnel. At approximately 3:18 p.m., after

the “tunnel” had been cleared by police officers, and the rioters were on the Lower West Terrace

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inaugural platform, Metropolitan Police Department Officer Michael Fanone was pulled into the
crowd by another rioter. The defendant applied the electroshock weapon to the back of Officer
Fanone’s neck. Officer Fanone subsequently lost consciousness and was later admitted to

Washington Hospital Center for treatment for his injuries.

17. After 3:18 p.m., other rioters broke a window to the left of the tunnel on the Lower
West Terrace. The defendant climbed through the broken window into room ST2M inside the U.S.
Capitol building. The defendant then went into an adjacent room—ST4M—where he attempted to
break another window by slamming an object repeatedly into the window. The defendant then
followed other rioters into ST6M, another room in the U.S. Capitol building, where he encouraged
other rioters to “look for intel.” The defendant opened bags in the office, rifled through papers on
the desks, and subsequently removed emergency escape hoods from their bags. The defendant then

left the U.S. Capitol building when police officers cleared the rooms.

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18. At approximately 4:00 p.m., the defendant posted in the Patriots 45 group chat
“Omg I did so much fucking shit rn and got away tell you later” and “Tazzed the fuck out of the
blue[.]”

19. Upon arriving back in California, on or about January 10, 2021, the defendant drove
himself and others to the home of Person One. During that visit, one of the defendant’s
coconspirators walked around Person One’s residence, unplugged all of Person One’s Amazon
Alexa devices, and indicated through miming to Person One not to speak out loud. While at Person
One’s residence, the coconspirator wrote in a notebook belonging to Person One, “I WANT TO
HELP YOU DELETE EVERYTHING AND TO TRANSFER THE FILES TO A SECURE
HARD DRIVE.” Person One believed that was discussing photos and videos taken by Person One
at the United States Capitol on January 6, 2021, including materials that showed the defendant and
others participating in the riot. While visiting Person One’s home on or about January 10, 2021,
the defendant attempted to facilitate the destruction of Person One’s evidence so that it could not
be used in an investigation into the events at the United States Capitol on January 6, 2021.

Elements of the Offense

20. Daniel Rodriguez knowingly and voluntarily admits to all the elements of
Conspiracy, Obstruction of an Official Proceeding, Tampering with Documents or Proceedings,
and Inflicting Bodily Injury on Certain Persons with a Deadly or Dangerous Weapon. Specifically,
defendant admits that:

e Count One: The defendant willfully and knowingly agreed or conspired with one or more
other persons to commit an offense against the United States, namely Obstruction of an

Official Proceeding and Tampering with Documents or Proceedings, and that, to further

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the objective of that conspiracy, committed one or more overt acts in furtherance of that
conspiracy.

Count Two: The defendant willfully and knowingly entered the U.S. Capitol Building and
Grounds knowing that he did not have permission to do so. Defendant further admits that
while at the U.S. Capitol Building and Grounds, he corruptly obstructed, influenced, and
impeded an official proceeding, that is, a proceeding before Congress, specifically,
Congress’s certification of the Electoral College vote as set out in the Twelfth Amendment
of the Constitution of the United States and 3 U.S.C. §§ 15-18.

Count Three: The defendant willfully and knowingly did corruptly alter, conceal, destroy,
mutilate, and conceal a record, document, and other object, and attempted to do the same,
with the intent to impair its integrity and availability for use in an official proceeding, that
is, the grand jury investigation into the attack on the Capitol on January 6, 2021.

Count Six: The defendant forcibly assaulted, resisted, opposed, impeded, intimidated, or
interfered with Officer Michael Fanone, a person designated in 18 U.S.C. § 1114, while
engaged in or on account of the performance of their official duties. Specifically, the
defendant admits that he used an electroshock weapon on the neck of Officer Michael
Fanone, involving physical contact with that officer and causing bodily injury to that
officer. Officer Fanone was a person assisting the United States Capitol Police, that is, an
officer from the Metropolitan Police Department. The defendant further admits that he
knew at that time of the assault of, resisting, opposition to, impeding of, intimidation of, or
interference with the officer that the officer was engaged in the performance of their official
duties or that he assaulted, resisted, opposed, impeded, intimidated, or interfered with the

officer on account of their performance of their official duties.

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By:

Respectfully submitted,

MATTHEW M. GRAVES
United States Attorney
D.C. Bar No. 48

  

 

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Kpnberly L.Paschall

ssistant United States Attorney
Capitol Siege Section
D.C. Bar No. 1015665
601 D Street N.W.
Washington, D.C. 20530
Kimberly.Paschall@usdoj.gov

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DEFENDANT’S ACKNOWLEDGMENT

I, Daniel Rodriguez, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that could
impede my ability to understand this Statement of the Offense fully.

Date: Z/ Yd 2 te Z LEA

Daniel Rodriguez
Defendant

 

ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.

Date: PLY [a > ee

Rebecca Ann Levy
Attorney for Defendant

 

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